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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF CALIFORNIA

AARON REEL
Plaintiff,
vs.

THE CITY OF EL CENTRO, a Public Entity;
CHIEF OF POLICE BRIAN JOHNSON,
individually and in his official capacity as
Chief of Police of the El Centro Police
Department; CITY MANAGER MARCELA
PIEDRA, individually and in her official
capacity; and DOES 1-10 inclusive.

Defendants.

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Case No. 22-cv-526-W-(KSC)

FIRST AMENDED COMPLAINT FOR
DAMAGES AND INJUNCTIVE RELIEF:
DEMAND FOR JURY TRIAL

(1) Failure to Perform Mandatory Duty
against Defendant City of El Centro
pursuant to Gov. Code §815.6 (a);

(2) Negligent Hiring, Supervision &
Training against Defendant Piedra and
City of El Centro pursuant to Gov. Code
§815.2 (a);

(3) Violation of Government Code
§12940(h) Retaliation for filing
Discrimination and Retaliation
Complaints;

(4) Violation of Government Code§
12945.2(1) - Retaliation for taking leave
under the California Family Rights Act;
(5) Employment Discrimination in
Violation of California Government Code
§12940(a);

(6) Failure to Remedy Discrimination
and Harassment in Violation of Gov. Code
§12940(k);

(7) Violation of Statutory Duty pursuant
to California Labor Code §6310;

(8) Violation of California Labor Code
§1102.5

(9) Violation of 42 U.S.C. §1983-First
Amendment Retaliation

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JURISDICTION AND VENUE

1. Jurisdiction of this court is invoked under 28 U.S.C. §1331 and §1343 as this is an
action for money damages and injunctive relief under Title 42 U.S.C. § 1983 for First
Amendment retaliation and due process violations. The Court has subject matter jurisdiction over
this action for the federal claims and has supplemental jurisdiction pursuant to 28 U.S. C. §1367
over the state law claims as they arise from the same nucleus of operative facts as the federal
claims. In addition, this Court has jurisdiction to provide declaratory and injunctive relief
pursuant to 28 U.S.C. §2201 and 2202.

2. Venue is proper in the Southern District of California because the wrongs alleged
herein occurred within the City of El Centro, which lies in Imperial County, which is located
within the Southern District of California.

PARTIES

1. Plaintiff, AARON REEL, was, at all times relevant herein, a resident of Imperial
County and employed by Defendant THE CITY OF EL CENTRO as a Commander of the El
Centro Police Department which resides in Imperial County, in the State of California, within the
jurisdiction of the above-entitled Court.

2. Defendant CITY OF EL CENTRO is a duly constituted municipality organized
and existing under the laws of the State of California and is wholly situated in the County of
Imperial. The El Centro Police Department (hereinafter DEFENDANT or ECPD or department)
is an operating department of Defendant CITY OF EL CENTRO.

3. Defendant Brian Johnson (Johnson) was at all times relevant the Chief of Police for
the El Centro Police Department. Plaintiff is suing Defendant Johnson both in his individual
capacity and in his official capacity. Plaintiff is informed and believes that Plaintiff Johnson was
intentionally acting as an individual in the constitutional violations and retaliatory conduct taken
against Plaintiff. Plaintiff is further informed and believes that in doing the things alleged herein,
Johnson acted under the color of state law, within the course and scope of his employment, and

as an official policy-making authority over actions such as the ones at issue in this Complaint.

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1 4. Defendant Marcela Piedra (Piedra), was at all times relevant the City Manager for
2 || the City of El Centro. Plaintiff is suing Defendant Piedra acting as an individual in the

3 || constitutional violations and retaliatory conduct taken against Plaintiff. Plaintiff is further

4 || informed and believes that in doing the things alleged herein, Piedra acted under the color of

5 || state law, within the course and scope of her employment, and as an official policy-making

6 || authority over actions such as the ones at issue in this Complaint. Plaintiff is informed and

7 || believes and based thereupon allege that both Defendant Johnson and Defendant Piedra were

8 || involved in a personal relationship and acted in concert to deprive Plaintiff of his constitutional
9 || rights and such actions were taken intentionally exposing each of these Defendants to punitive
10 || damages.

11 Si Defendant Does 1-10 (Does) inclusive, are not unknown or unidentified at this
12 || time, but are employees of the City of El Centro. Upon information and belief, Plaintiff alleges
13 || that each Doe is in some manner responsible for the wrongs alleged herein, and that each such
14 || defendant advised, encouraged, participated in, ratified, directed or conspired to do, the wrongful
15 || acts alleged herein. When the true names and capacities of said defendants become known.

16 || Plaintiff will seek relief to amend this Complaint to show the true identities of each said Doe in
17 || place of their fictitious names as Does 1 through 10.

18 6. Plaintiff is informed and believes, and based thereupon alleges, unless otherwise
19 llalleged in this Complaint, that all relevant times herein, Defendants and Does 1 - 10 were the

20 |lagents, employees and/or servants, masters or employers of each other and of the remaining

21 |IDOES 1-10, and in doing the things herein alleged, were acting within the course and scope of
22 |isuch agency or employment, and with the approval and ratification of each of the other

23 ||Defendants.

24 7 As a direct and proximate result of the unlawful actions of Defendants, Plaintiff
25 |lwas denied due process, suffered and continues to suffer from loss of wages and earnings,

26 |jemotional distress, damages to his reputation and other damages in amounts as yet unascertained,
27 |\but subject to proof at trial. Plaintiff has also incurred costs and attorneys fees in attempting to

28 ||vindicate his rights. In addition, Plaintiff is entitled to punitive damages against the individual

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Defendants he has sued in their individual capacities and his entitled to injunctive and declaratory

relief as alleged herein.

EXHAUSTION OF ADMINISTRATIVE REMEDIES

8. All necessary prerequisites to suit for Plaintiff's pendent state claims have been
exhausted. From November 24, 2019 through the date of the filing of this lawsuit, Plaintiff has
either closed his investigations and/or had right to sue notices issued regarding all of the adverse
employment actions he was subjected to during his tenure with Defendants. (Exhibit 1-3) In
addition, on October 8, 2021, Plaintiff filed a claim for damages for the retaliatory adverse
employment actions resulting in his termination, naming all Defendants and received a rejection
of his claims on October 27, 2021. Exhibit 4.

FACTS COMMON TO ALL CAUSES OF ACTION

9. Plaintiff Aaron Reel, has spent his entire career of 25 years in law enforcement with
the El Centro Police Department working for Defendant City of El Centro. After completing the
San Diego Police Academy in 1996, Mr. Reel was ultimately hired as a full time police officer
after serving as both a volunteer and reserve police officer. In 2004, he was promoted to a Special
Agent in the Narcotic Task Force, and became a Detective serving in these capacities for
approximately six years. Thereafter, he was promoted to a police Sergeant in 2009. In 2013, Mr.
Reel was promoted to the position of Commander and was acting Executive Commander for 14
months, and thereafter Commander directly under to Executive Commander and the Chief of
Police. However, in 2021, Mr. Reel’s long, honorable twenty-five year career unceremoniously
came to an end with his involuntary separation from the ECPD, after he reported his reasonable
belief that Defendant, Chief of Police Brian Johnson, was discriminating against female
employees, retaliating against him for his reports, and had jeopardized the safety of police officers
by not following Covid-19 protocols.

10. To demonstrate the pretextual nature of the Defendant Chief Johnson and the
City’s decision to terminate him, Commander Reel had an impeccable 25 year unblemished
record. He consistently received high performance ratings on his evaluations, outstanding officer
and team member of the year awards. By 2001, after serving for four and a half years, he had
become the officer others sought out for advice. In 2002, Mr. Reel was recognized as a senior

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member of the SWAT team and had participated in several successful missions. At this point, Mr.
Reel was certified as a firearms instructor, an armorer, a field training officer and an off-road
vehicle instructor. In 2004, Mr. Reel had become a senior officer in the department and had been
designated as one of the team leaders of the SWAT team. Mr. Reel had become known for being
invariably punctual, the last to leave the office and rarely ever called out sick. Also, Mr. Reel was
selected as the ECPD representative in the Imperial County Narcotics Task Force. Mr. Reel had
led the task force in arrests, accounting for 25 percent of all arrests made.

11. In August of 2004, Mr. Reel received a commander’s commendation for his
excellent work on an investigation involving narcotics dealers in the City of El Centro. By 2005,
Mr. Reel was recommended to assume a leadership role after his outstanding work as the Training
Coordinator. In 2007, Mr. Reel was an NFT agent of the year, and was recognized both by the
City Mayor and California State Legislature and Representative Bonnie Garcia, for outstanding
community service in drug enforcement. In October of 2007, he was performing exceptionally in
criminal investigations and on August 14, 2008, Mr. Reel received a commendation from the
Chief of Police Harold Carter, for his professionalism and performing his duties in an exemplary
manner.

12. On April 1, 2009, Mr. Reel was promoted to Sergeant. He had several assignments
as a supervisor including Sergeant Detective, Administrative Sergeant and SWAT Supervisor. In
six months of being a supervisor, Mr. Reel was commended for some solid supervisory decisions.
In January of 2010, his progress was above average for new supervisors.

13. On June 30, 2013, Mr. Reel earned his Bachelors in Criminal Justice
Administration. Two months later, Mr. Reel was successful in the test for the Commander
position. On October 29, 2013, based upon his performance and dedication to the City of El
Centro Police Department, Mr. Reel was promoted by then Chief of Police Jim McGinley to
Commander and joined the management team. Plaintiff performed well in his position,
supervising approximately 30-40 staff members. In 2014, upon the retirement of Chief McGinley,
Executive Commander Eddie Madueno became the Chief of Police. This left the Executive
Commander position open. A decision was made to have Commander Reel act as Acting
Executive Commander for the first 14 months and Alvaro Ramirez assumed the role for an

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additional 14 months. This would allow both men to obtain valuable management experience in
the Department due to past turnover rates in the management team.

14. On May 27, 2014, Commander Reel began his assignment as the Acting Executive
Commander. In this capacity, Commander Reel met on a regular basis with the two Commanders
Robert Sawyer and Alvaro Ramirez to share ideas related to improving departmental operations.
Chief of Police Eddie Madueno evaluated Reel in his position as Acting Executive Commander
and solicited input from Commander Alvaro Ramirez, Commander Robert Sawyer and Staff
Assistant to the Chief of Police, Amanda Curiel. The overall assessment was that Mr. Reel was
very helpful to them in the performance of their respective duties and they appreciated him. Not
only did Plaintiff fulfill his duties in an exemplary manner, during this 14 month period, but he
also managed to earn his Masters in Public Administration by November 15, 2015.

15. When Mr. Reel finished his term, Alvaro Ramirez became Acting Executive
Commander and Mr. Reel reported directly to him. According to Mr. Ramirez, Mr. Reel had
worked well with those supervisors under his command. Ramirez opined that he had no doubt Mr.
Reel believed in the department’s mission statement and his decisions had been made in the best
interests of the Department. From 2015 forward, the El Centro Police Department had been
experiencing an understaffed management team, which made Mr. Reel’s contributions as Acting
Executive Commander and Commander not only valuable but also critical. There were several
retirements in a short period and six vacancies creating a burden on the Police Department.
Commander Reel did not complain about the additional workload and continued to perform
exceptionally given the conditions.

16. In July of 2017, Alvaro Ramirez became the official Executive Commander.
Shortly thereafter, in approximately December of 2017, Chief of Police Eddie Madueno retired
leaving the City of El Centro to recruit for a new Chief of Police. In the meantime, for
approximately three to four months, Ramirez was the Acting Chief of Police while several
candidates were interviewed for the position.

17. In April of 2018, Defendant Brian Johnson was hired as the new Chief of Police for
the City of El Centro after a short stint of two and a half years as Chief of Police at Upland Police

Department. Unfortunately, Defendant City of El Centro, by and through Defendant City

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Manager, Marcela Piedra, failed to perform a mandatory POST background check on Defendant
Brian Johnson. The post-background check is a mandatory statutory requirement pursuant to Cal.
Code Regs. Tit. 11 §1953. POST checks ensure the candidates are screened for their moral
character, communication skills, interpersonal skills and trustworthiness.

18. Plaintiff is also informed and believes that Defendant City of El Centro, by and
through Defendant City Manager Marcela Piedra, also failed to administer a polygraph
examination to Defendant Johnson. Had these background measures been taken, the information
would have revealed that Defendant Brian Johnson had been forced to resign as the Chief of
Police for Upland Police Department in October of 2017 due to a vote of no confidence by the
Upland Police Officer’s Association. The impetus for Defendant Johnson’s forced departure from
Upland was his retaliatory terminations of 29 year veteran Captain Anthony Yoakum and 23 year
veteran Sgt. Marcus Simpson, after they had reported Chief Johnson’s misconduct. These
management officers had reported Defendant Johnson for violating officer safety protocols and
exposing the Upland Police Department to liability for his illegal actions for false arrests at a
marijuana dispensary. Plaintiff is informed and believes that Defendant Brian Johnson was
formally reprimanded for his officer safety violations and other illegalities which was placed in
his personnel file. A POST background would have revealed a pattern and practice of retaliatory
conduct unbecoming of the Chief of Police.

19. After Yoakum and Simpson reported Defendant Johnson’s conduct, these senior
management officers were falsely accused of misconduct, insubordination and improperly
disparaging the Chief of Police Brian Johnson and were placed on administrative leave and,
thereafter, terminated. Both officers brought lawsuits alleging numerous violations of their civil
rights against the City of Upland and Defendant Johnson both in his individual and official
capacity. Plaintiff is informed and believes that a POST background would have revealed a
pattern and practice of taking adverse employment actions against employees who engage in
protected activity.

20. A further investigation of Defendant Brian Johnson’s tenure at Upland Police
Department revealed that in the nearly two and a half years he was there, Chief Johnson was at
odds with nearly four fifths of his officers who either resigned or were unfairly terminated and

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that he was out of step with the men and smaller complement of women he commanded resulting
in his forced resignation.

21. Unfortunately for Plaintiff Aaron Reel, Defendant Brian Johnson’s pattern and
practice of taking adverse action against officers who reported his misconduct was to be repeated
at the City of El Centro causing the loss of his 25 year career. At the time of Defendant Brian
Johnson’s hire, he was the first in command as the Chief, the second in command was Executive
Commander Alvaro Ramirez and there were two commanders, Plaintiff Reel and Commander
Robert Sawyer. The same Administrative staff assistant, Amanda Curiel who had served under
both Chief McGinley and Chief Madueno was now serving under Chief Johnson and had worked
with Commander Reel for several years.

22. Inapproximately August of 2018, in the first few months of Defendant Chief
Johnson’s tenure, Chief Johnson appeared to respect Commander Reel’s leadership skills and
commitment to the El Centro Police Department. In a letter drafted to the Commission of Peace
Officer Standards and Training, Chief Johnson gave the highest recommendation to nominate
Commander Reel to attend the POST Command College Program. His recommendation stated in
pertinent part:

“As the Support Services Commander, Aaron provides the
leadership and guidance to both sworn and civilian personnel with the El
Centro Police Department. Commander Reel is a progressive leader who
is dedicated to the law enforcement profession...He has proven that he has
the skill set, commitment, and discipline...Commander Reel has taken the
leadership role to develop and lead the personnel assigned to our training
and background unit to maximize their effectiveness. He has helped to
develop a plan to fill the critical vacancies within our sworn and civilian
ranks... In the next three to five years, Commander Reel will have a
critical role in the design, review and awarding of a contract through the
RFP process to build the new El Centro Policy Facility.”

23. However, in the following months, Commander Reel observed that Chief Johnson
had an aggressive management style with a quick temper and often using foul and vulgar language
in the workplace. Commander Reel also observed Chief Johnson’s disrespectful treatment of
women often causing the female staff to be left in tears due to Plaintiff's abusive, foul and
inappropriate language. At first, Plaintiff Reel attempted to respect the chain of command by
reporting to the Chief himself as his supervisor that the female staff were upset and gently suggest

he apologize. However, this was never done. In addition, Defendant Johnson would make several

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demeaning and degrading comments about females to the Plaintiff to the effect that he should be
aware that “women in positions of power can be vicious” and that the Director of Human
Resources was difficult to work with “because she was a woman.” Plaintiff made another
attempt to suggest to Defendant Johnson that his comments could be perceived as sexist at which
time Chief Johnson directly threatened Plaintiff Reel by telling him that he was lucky he had made
those comments in a closed door meeting.

24. Defendant Johnson’s inappropriate conduct continued into 2019. On March 19,
2019, Chief Johnson raised his voice and used vulgarity to his female staff assistant Ms. Curiel
when she submitted the budget request for training to Mr. Johnson. Defendant Johnson became
enraged when Ms. Curiel submitted the documents to him and yelled at her, “Aaron is fucking
working for me, he needs to ask my permission” in front of other staff. There were several other
instances Commander Reel and management staff witnessed Chief Johnson verbally abuse his
administrative assistant Ms Curiel. This conduct was offensive and created a hostile environment
for Ms. Curiel and those around her. Commander Reel attempted to intervene on Ms. Curiel’s
behalf to remedy the hostile environment and encouraged Defendant Johnson to apologize to her.
Mr. Reel’s objections caused Defendant Johnson to become more irate and to direct threats
toward Commander Reel. In July of 2019, Executive Commander Alvaro Ramirez abruptly
resigned. Many staff members believe that his resignation was prompted by the hostile
environment created by Defendant Johnson.

25. Chief Johnson’s retaliatory animus toward Commander Reel came to a head on
August 16, 2019 when Chief Johnson accused Mr. Reel of not apprising him of a school threat
that Commander Reel believed he had under control and, in fact, turned out to be hyperbole; and
not a real threat. Chief Johnson berated and humiliated Commander Reel by engaging in
inappropriate, loud and vulgar language directed at Plaintiff, which was heard by several other
staff members. Commander Reel’s peers and subordinates heard Defendant Johnson scream at
him using the f word asking him how long he had been with the department, how long he had
been a sergeant and mocking him that he was a commander. During this berating of the Plaintiff,
Defendant Johnson threatened Commander Reel that he would never promote him to the
Executive Commander position. The staff that overheard this exchange felt very uncomfortable

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1 and embarrassed for Commander Reel to the point that they collectively made a decision to knock
2 jon the door to alert Chief Johnson that everyone could hear what he was saying.

3 26. On August 16, 2019, Plaintiff Reel made a formal complaint against Defendant
Johnson with the Director of Human Resources due to the culmination of the discriminatory
conduct directed toward female employees; his hostility directed against him, and Plaintiff's

inability to work out a remedy with the Chief. In the complaint, Plaintiff Reel reported his

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concerns that Chief Johnson had engaged in sex discrimination against female employees and

8 |hostility directed toward him and that he feared retaliation. As a result of these reports, Human

9 ||Resources Director hired an outside investigating company to investigate Commander Reel’s
10 |iclaims.
11 27. On or about September 3, 2019, in close proximity to Plaintiff Reel’s complaint,
12 ||Chief Johnson informed Commander Reel that a decision had been made to change the Executive
13 |(Commander position into a Deputy position that would serve at will without any due process
14 |/protections. Despite Defendant Johnson informing Plaintiff Reel he would never promote him, he
15 jlactually offered Commander Reel the at-will position of Deputy Chief which he declined. Plaintiff
16 |lis informed and believes the offer was made in order to be able to terminate Plaintiff at will
17 |jwithout affording him due process.
18 28. In addition, on September 19, 2019, Defendant Johnson violated El Centro Police
19 Department policy and procedures by failing to place Commander Reel in the position of Acting
20 ||Chief of Police in his absence with a 10 percent increase in pay. Instead, Chief Johnson selected
21 (Commander Ray Bonillas who had only been in the position for less than a year instead of
22 (Commander Reel who had six years seniority. On September 23, 2019, when Defendant Chief of
23 ||Police Johnson returned from his vacation, he informed Plaintiff Reel that Officer Thompson
24 (under Commander Reel’s chain of command) had filed a complaint of unfair treatment against
25 ||Reel. Interestingly, Officer Thompson’s complaint contained allegations of his perceived belief
26 |that administrative assistant Curiel and Commander Reel were trying to undermine the Chief and
27 \\his opinion that Reel was being “insubordinate to the Chief” when, in fact, an ongoing

28 |linvestigation was being conducted as to the Chief’s discriminatory and retaliatory animus toward

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Commander Reel and Curiel. The Director of Human Resources believed that Chief Johnson was
behind the allegations made by Officer Thompson.

29. At the time of Thompson’s complaint, Plaintiff had only supervised Officer
Thompson for approximately seventeen days and found the timing of this complaint and the
Chief’s knowledge of it to be suspect. In addition, prior to Officer Thompson coming under the
supervision of Commander Reel, the City of El Centro had settled the largest police misconduct
wrongful death settlement of $4.1 million in the history of the Southern District of California for
the negligent supervision and training of Officer Thompson. Officer Thompson had also been
involved in a lawsuit in prior years for engaging in sexual harassment resulting in another million
dollar settlement. Needless to say, Officer Thompson had serious performance issues prior to
being supervised by Commander Reel. Director of Human Resources had actually warned
Defendant Johnson that he should review Officer Thompson’s personnel file prior to making a
decision to promote him. In fact, Chief Johnson had encouraged Commander Reel to issue Officer
Thompson a counseling memo for performance deficiencies a month earlier on August 13, 2019
prior to Commander Reel formally complaining about Defendant Johnson.

30. While these investigations were on going, in the September and October of 2019
time frame, Plaintiff Reel e-mailed Defendant Johnson his list of accomplishments for the 2018-
2019 time frame as was his custom and practice. He sent the e-mail to the Chief because
Executive Commander Alvaro Ramirez, who Plaintiff directly reported to, had left the
Department and Chief Johnson was now in charge of his performance review. Although Plaintiff's
review was an overall satisfactory rating, the list Plaintiff sent Chief Johnson was a two page list
of the achievements he had accomplished in his position as Commander. Chief Johnson ignored
Plaintiff's e-mail and none of those items were placed in his annual review.

31. On November 6, 2019, the City of El Centro’s outside administrative investigation
issued a confidential report to the City of El Centro regarding Commander Reel’s August
complaint of discrimination and retaliation against Chief Johnson, with two sustained findings:
(1) Defendant Chief Johnson had used inappropriate language and raised his voice in the presence
of subordinate employees in 2019 and (2) Defendant Chief Johnson had violated department
policy concerning succession of command on September 19, 2019. Despite these sustained

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1 ||findings, no one informed Commander Reel of the results of the investigation. Unbeknownst to
2 \|Plaintiff Reel, Chief Johnson was issued a reprimand in his personnel file for these sustained
3 |lfindings. Despite these sustained findings, Plaintiff Reel was not immediately compensated for the
4 |lloss of his pay entitlement when he was deprived the role of Acting Chief.
5 32. Onor about November 20, 2019, the El Centro Police Department was audited by
6 Ilthe California Commission on Police Officers and Training. The Commission determined that
7 |Defendant City of El Centro had failed to perform a background investigation on Defendant Brian
8 | Johnson in violation of the law. Plaintiff is informed and believes that the City of El Centro was
9 llordered to complete a POST background on Chief Johnson by December 20, 2019 or they would
10 llorder him to resign. Plaintiff is further informed and believes that Defendants Johnson and the
11 ||City of Centro deliberately failed to obtain the appropriate background information, which would
12 Ilhave demonstrated Chief Johnson’s pattern and practice of retaliation to Officers in his chain of
13 command that engage in protected activity by reporting his illegal conduct.
14 33. On November 25, 2019, Plaintiff contacted the Department of Fair Employment and
15 |/Housing to open an investigation for discrimination, harassment and retaliation. The DFEH claim

16 |\stated in pertinent part:

17 “Chief Johnson has engaged in a year and a half long
campaign to accost, attack, and otherwise discredit and isolate me in the

18 workplace. This has gone on shortly (a couple of months) after he was
hired and has been intermittent in frequency however consistent in

19 reoccurrence. I have been yelled at and cussed at, and personally attacked
in a number of interactions by Chief Johnson to the point that I filed a

20 complaint against him with the City of El Centro Police Department on
August 19" of this year. The complaint consisted of workplace

21 harassment, mistreatment and unprofessional misconduct. The complaint
is being investigated by an outside firm on behalf of the City of El Centro.

22 During the investigation, I disclosed Chief Johnson’s sexist and
defamatory remarks about women, specifically women in positions of

23 power, and my confronting him on such statements. Chief Johnson is
aware of the complaint and has remarked to others, maybe to the point

24 even slightly manipulating the process/investigation.”

This DFEH complaint and the right to sue is attached to this complaint as
25 Exhibit “1)

26 34. Onor about November 28, 2019, Chief Johnson went on vacation and again

27 |lintentionally retaliated against Plaintiff by selecting the other Junior Commander Ray Bonillas for
28 ||Acting Chief in violation of Department policy. This deprived Plaintiff to the title and extra
incentive pay he was entitled to receive. Plaintiff again reported to Human Resources Director that

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1 |[Defendant Johnson was continuing to retaliate against him for violating department policy

2 |lbecause he had filed a complaint. Again, despite the City having a Confidential Report sustaining
3 }\findings that Chief Johnson’s actions were policy violations, Plaintiff was not immediately paid
4 |/for the loss of the opportunity to be placed in as Acting Chief.

5 35. In further retaliation, in December of 2019, Defendant Chief Johnson deliberately

6 ||changed the Department policy along with the approval of Defendant City Manager Marcela

7 ||Piedra that the Chief now had the discretion to choose the Commander he wished to be in charge
8 |lin the event of his absence. This effectively caused Commander Reel to be permanently blocked
9 |lfrom exercising his right to act in the capacity of Acting Chief for the remainder of his tenure.

10 |[Plaintiff is informed and believes that this decision was done intentionally to deprive Plaintiff of
11 |lhis rights and was in violation of the law.

12 36. On December 11, 2019, Plaintiff was informed by several of his direct report

13 |lsubordinate officers that they had been interrogated by Defendant Brian Johnson while Plaintiff
14 |lReel had been out taking care of one of his sick little girls. These subordinate officers in

15 (Commander Reel’s chain of command informed Plaintiff that Chief Johnson was trying to make
16 |lan issue out of the detail regarding a Christmas parade in an attempt to find some fault with

17 ||Commander Reel while he was out of the office. Upon his return to the office, Staff Assistant to
18 |Ithe Chief of Police Amanda Curiel informed Commander Reel that “he needed to watch his back”
19 ||because Chief Johnson was after him. Other staff members offered their support to Commander
20 |/Reel that he should not have to tolerate this type of retaliatory behavior.

21 37. After learning of Chief Johnson’s behavior, that same morning of December 11,
22 112019 at 8:54 a.m., Plaintiff Reel reached out again to Human Resources Director by e-mail stating

23 |lin pertinent part:

24 “T really hate coming to you with this however, I really can’t turn
to anyone here with the issues. My tank is pretty full when it comes to my

25 stress levels. I have been subjected to quite a bit and really have to come
to grips with the fact that I am in need of something other than what I

26 have tried. I’m losing sleep, can’t sleep, wake up early (like this morning
at 3:30 am and with work weighing on my mind. I have anxiety, which I

Zi am honestly unfamiliar with, my heart pounds through my chest thinking
about some of the things I have been subjected to. In the absence of

28 another commander, I have taken on additional workload which used to

be assigned to the commander. In many cases, I would thrive on the
challenge however, I can’t focus, my mind wanders, and even at home all

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I think about is the negativity. I was home taking care of a sick little girl
over the last two days only to return to work to be warned by an employee
that I need to be careful because there is a target on my back... know that
you and I had a conversation with regard to the policy issue, retaliation
(either real or perceived) and by being generally isolated by this chief. All
of this is taking a toll and I absolutely, although reluctantly and
embarrassingly admit that I may not be handling all the stresses very well
on my own...If you have time, I would like a little direction.”

38. Under the direction of HR Director, Commander Reel filed a worker’s compensation
claim due to Defendant Johnson’s discriminatory and retaliatory actions. Plaintiff had never had
any treatment nor symptoms prior to this time. On December 11, 2019, Plaintiff Reel was seen by
a physician which immediately placed him on an anti-anxiety medication of Ativan and sent him
for a psychological assessment. Commander Reel was diagnosed with anxiety and depression, and
was placed on medical leave. Upon his return from medical leave, the worker’s compensation
physician advised him to take five minutes per hour to psychologically recharge to be able to
handle his work environment.

39. On January 27, 2020, Commander Reel returned after six and a half weeks of
medical leave to find that his office belongings had been packed up and his office had been moved
to a much smaller office next to the Chief’s office. Commander Reel was also stripped of all his
previous job duties: field operations, SWAT, field training program and all areas related to police
operations. Commander Reel was told by Chief Johnson that he was to assume the duties of an
“administrative” Commander, which is the less attractive of assignments and usually given to the
junior Commander. Plaintiff formed the reasonable belief that he was continuing to be retaliated
against. Despite repeated requests by Commander Reel regarding his job description, Chief
Johnson ignored him and shut him out of all important meetings or decisions regarding the
organizational structure and informed him that he would find out his duties once the new Deputy
Chief was hired. From this point forward, Chief Johnson refused to meet with Commander Reel
one on one. In the meantime, Commander Reel continued with his psychological therapy to deal
with the adverse employment actions and the continuous hostile environment. After he returned
from medical leave and was continuing his therapy, his personal therapist, Dr. Quiero, advised

him that he needed to psychologically unplug himself from his job while not at work by turning

off his phone and e-mails, and to just spend time with his family.

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40. On January 28, 2020, Commander Reel was finally informed that his original
discriminatory complaint against Chief Johnson had been sustained and that he was entitled to the
pay of Acting Chief that he had been deprived. Despite the Director of HR directing Chief
Johnson to pay the Plaintiff, he refused. Plaintiff continued to not receive his extra compensation.

41. On February 11, 2020, Commander Reel received his performance evaluation from
Defendant Chief Johnson which was favorable and did not contain any performance issues or
deficiencies. However, unbeknowst to Plaintiff, Defendant Johnson was negotiating the re-hire of
former Commander Robert Sawyer who had previously been at El Centro to fill the position of
Deputy Chief and was formulating a plan to get rid of Commander Reel.

42. On February 18, 2020, Chief Johnson hired Robert Sawyer as the new Deputy
Chief. Chief Johnson admitted to the Director of Human Resources and other City Management
officials that he was bringing back Sawyer so he could get rid of Commander Reel. Prior to the
arrival of Deputy Chief Sawyer, the HR Director had informed Plaintiff that there were no
sustained findings with regard to Officer Thompson’s complaints and that it had been completed
by the outside investigation firm. Without the Director of Human Resources’ knowledge ( who
was in charge of the investigation), Chief Johnson directly contacted the outside investigator and
directed him to begin interviewing additional witnesses to compile derogatory information in
order to build a case against Commander Reel as it was his intent to separate him from the
department. In addition, Chief Johnson directed Deputy Chief Sawyer to collect any information
regarding Commander Reel that could be utilized against him. This plan was condoned and
ratified by Defendant City Manager Marcela Piedra.

43. After the hiring of Deputy Chief Sawyer, Commander Reel was now under the
direction of Deputy Chief Sawyer who Chief Johnson had shared his discriminatory animus
against. On March 13, 2020, the City of El Centro declared a local state of emergency and
Commander Reel was designated and took an active role as the Planning Chief for the Emergency
Operations Center for the City of El Centro. This position required him to submit reports by 7:00
a.m. to the Fire Chief, which effectively changed his work hours to begin his shift at

approximately 5-5:30 a.m.

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1 44. On March 30, 2020, during a command staff meeting, Commander Reel identified
2 |Itwo police officers who met the criteria of high-risk individuals who should be protected from the
3 |lrisk of becoming infected with Covid-19. Commander Reel had been utilizing the Center for

4 Disease Control guidelines and had educated himself regarding high-risk factors including age,

5 llobesity, medical issues such as immune deficiencies, diabetes, cancer survivors, and respiratory

6 |lillness. Commander Reel was intimately aware of the medical conditions of all officers.

7 ||\Commander Reel identified two officers who met the high-risk category and strongly urged

8 ||Command Management to remove him from the field, based on his preexisting conditions.

9 ||\Commander Reel identified one of the Officers, who will be referred to as Officer C, and

10 Ildisclosed that he met all the criteria for high risk as he was over 50, overweight, diabetic and a

11 |lrecipient of an organ transplant. In attendance at this command staff meeting was Chief Brian

12 |\Johnson, Deputy Chief Robert Sawyer, Commander Ray Bonillas and staff assistant Amanda

13 ||Curiel, and Commander Reel. When Commander Reel requested that two officers be relieved of
14 ||field duties, he received immediate pushback from his chain of command because it would strain
15 |lstaffing levels on patrol. As a consequence, no one acted on this recommendation and eight days
16 |llater Officer C was diagnosed with Covid-19. The other officer that Commander Reel had

17 |lidentified as high-risk, who will be referred to as Officer H, also tested positive for Covid-19

18 ||which spread to his family, including the Officer H’s wife, who became gravely ill and was

19 ||placed in intensive care. In addition, Commander Reel was concerned that the El Centro Police
20 Department did not have the proper protocols in place for the N-95 masks for their officers.

21 45. When Officer C became ill, Commander Reel reminded Deputy Chief Sawyer and
22. |\Commander Bonillas that he had told them back in March that Officer C had needed to get out of
23 |Ithe field. Unfortunately, on May 27, 2020, Officer C was in critical condition. That same day,

24 |Chief Johnson instituted new safety protocols, which Commander Reel had been trying to

25 |leffectuate since March.

26 46. On June 2, 2020, after Officer C’s condition became grave, Commander Reel

27 \lbecame extremely emotional and went behind closed doors with Deputy Chief Sawyer and stated:

28 ||I fing told you that this was going to happen.” The following day, Officer C passed away from

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1 ||Covid-19 and was considered an in the line of duty death. Plaintiff sought legal advice as to his
2 \lrights in reporting his reasonable belief that the Command Management team had not properly
3 |lprotected Officer C by taking the necessary safety precautions by removing him from the field
which contributed to the death of this Officer. At this point, Commander Reel was acting as a

private citizen in objecting to the manner in which the El Centro Police Department Command

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6 |lhad violated officer safety protocols to reduce the risk of Covid-19 infection.

7 47. After the death of Officer C, several subordinate staff members who had known

8 ||this officer for several years approached Commander Reel asking him to ask if Deputy Chief

9 Sawyer could deliver the devastating news about Officer C’s passing because he had known him
10 |Ithe longest. In response to this request, Commander Reel privately informed Deputy Chief Sawyer
11 |Ithat he thought he should be the one to inform the staff as he had been approached about the issue
12 |lbecause of the long-standing relationships Commander Reel, Sawyer and Officer C had which

13 |lspanned approximately 25 years. Plaintiff is informed and believes that Chief of Police Johnson
14 |lwas angry at Commander Reel because he had reported his belief that the Command Management
15 team had not properly protected Officer C. Plaintiff is further informed and believes that Chief
16 |Johnson took offense to Plaintiff's private request that Deputy Sawyer handle the news of Officer
17 ||C’s death, which Plaintiff did not mean any disrespect, and was not even his idea but a message
18 lhe passed to Chief Sawyer from other staff members.

19 48. On June 8, 2020, Commander Reel and other staff members were transporting

20 ||Officer C’s body from the mortuary which was a very emotional event for all staff who were very
21 ||close to this officer who had passed away. As Commander Reel was assisting other staff officers
22 ||with the placement of a flag over the transport box of Officer C’s body, Chief Johnson

23 |lapproached Commander Reel and asked him who was coordinating the parking, at which time

24 Commander Reel responded that he did not know but that he was hopeful that it would self-

25 llorganize. Although Deputy Chief Sawyer had the full oversight of the coordination efforts of

26 ||transporting Officer C home, Chief Johnson became angry with Commander Reel who told him
27 ||“if you ever f*ing disrespect me in front of my troops again, I will sideline your ass in a f*ing

28 Ilheartbeat.” After this interaction, Chief Johnson began to walk off. Plaintiff told Defendant

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1 |Johnson he did not know what he was talking about because he was not in charge of the event and
2 ||he was merely helping as asked. Chief Johnson told him: “you are f*ing Commander of Police,

3 }lyou didn’t make any of the decisions here?”, Mr. Reel said no. Mr. Reel was visibly shaken by

4 |this event which was noticed by the surrounding officers and he was once again embarrassed and
humiliated by Defendant Johnson’s actions, Within a couple of hours of this incident, Mr. Reel

reported this additional threat by Defendant Johnson to the HR Director by text requesting to

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meet with her again.

8 49. On June 9, 2020, the following day, Plaintiff met with HR Director, reporting that

9 ||he was continuing to be retaliated against and that he wanted to formally report the failure of the
10 }El Centro Police Department to protect its most at risk personnel from Covid-19. During this
11 |Imeeting, HR Director requested that he place both his formal complaints in writing. Plaintiff Reel
12 |icomplied and turned in two separate complaints: (1) for continuous retaliation and hostile
13 |jenvironment due to his earlier reports of Johnson’s conduct and (2) for officer safety violations of
14 |ithe command staff, including Defendant Chief Johnson, which contributed to Officer C’s
15 |jcontracting Covid-19 and his unfortunate death. Plaintiff turned in his formal written complaints
16 |ion or about June 15, 2020.
[7 50. On July 7, 2020, Plaintiff was informed by the HR Director that she had notified
18 ||Defendant Brian Johnson of his complaints. HR Director had waited until Officer C had been laid
19 |Ito rest. Defendant Brian Johnson immediately went into defense mode suggesting that he intended
20 |Ito place Plaintiff Reel on administrative leave but could not articulate any valid reasons to the HR
21 |/Director. HR Director also became aware that Defendant Johnson was falsely spreading
22 |\information that Officer C had requested to stay in the field which his wife had vehemently
23 |Idenied.
24 51. The following day, on July 8, 2020, HR Director met with Commander Reel and
25 |lasked if there would be any possibility to mediate the complaints given all of the investigations
26 ||that were going to have to be conducted. Commander Reel explained that he had been attempting
27 |\to remedy the hostile environment caused by Chief Johnson since August of 2018, and he

28 |/believed that he had been subjected to so much retaliation he was not sure he would be able to

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continue to work with him. The next day on July 9, 2020, Commander Reel was placed on
administrative leave pending an investigation into “potential misconduct and policy violations.”
The vague allegations violated Government Code Section §3303(c) by failing to properly notify
Plaintiff of the allegations levied against him. Chief Johnson’s request to place Commander Reel
on administrative leave just two days after becoming aware of Plaintiff's retaliation and officer
safety violations demonstrates clear evidence of Chief Johnson’s retaliatory intent.

52. Defendant Johnson lied to Commander Reel regarding the reasons he was being
placed on administrative leave by telling him it was due to another employee complaint against
him and that he would have to find out the reasons through contacting Human Resources. When
Commander Reel contacted HR Director about the complaint, she confirmed that the Chief was
the one who had issued the complaint and that she had notified Defendant Johnson of Commander
Reel’s formal complaints just days prior to his decision to place Commander Reel on leave.

53s On July 10, 2020, Plaintiff followed up with his Department of Fair Employment
and Housing investigation which informed him that his case of 2019 against Defendant Johnson
was still being investigated. Commander Reel also contacted the Department of Labor to file an
OSHA complaint for them to investigate the lack of Covid-19 field protocols and the death of
Officer C.

54. On August 25, 2020, Defendant Johnson finally came up with some false
allegations against Plaintiff Reel after interviewing and collecting information which he had no
first hand knowledge and e-mailed HR Director:

“The following is a summary of the allegations of
misconduct alleged against Commander Reel. As we discussed during our
meeting, I am not a witness to all the allegations, but they were brought to
my attention as the Police Chief. The allegations fall into the following
allegations of misconduct:

1. Allegations of dishonesty, false and misleading statements
while Commander Reel was on duty, in the performance of his official
duties. Command staff will need to be interviewed for these allegations,
Former Exec. Commander Ramirez will probably need to be interviewed
too.

2. Insubordination, Conduct Unbecoming an Officer, and
unprofessional behavior in violation of department and City policy.
Various department employees will need to be interviewed regarding
these allegations.

3. Made false complaints against me that could be violation
of various state laws and statutes. Some of the allegations he’s made

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1 against me, I believe that he knowingly made the complaints against me,

knowing they were false and there was no evidence to support his

2 allegations. If true, these are forms of creating a hostile work environment

and retaliation.

3 On another note, what is the status of Sgt. Thompson’s complaint.
I am sure he will be asking me now that I am back to work.”

as On August 26, 2020, the City Attorney for the City of El Centro, Elizabeth Martyn,
informed the DFEH in the City’s response to Plaintiff's 2018 complaint that two findings were
sustained against Chief Johnson for violation of police department policy and represented that
Commander Reel was in the process of being paid for each time that he was not designated as the
acting Police Chief. However, Commander Reel was not paid until October of 2020, which
demonstrates that it took two years for the City of El Centro to pay what Commander Reel was
entitled to, two years earlier. In this City Attorney’s response she also reported that Commander
Reel had filed several other complaints against Chief Johnson for retaliation, and that an internal
investigation had begun on those complaints. This was untrue. There was not an investigation
regarding Plaintiff’s retaliation complaints. Rather, the investigation was about to begin focusing,
instead, on Chief Johnson’s trumped up false allegations regarding Commander Reel’s
performance. Plaintiff contends that there was a continuous violations of rights from the first time
he reported Defendant Johnson’s conduct and brings this lawsuit under the continuing violations
theory.

56. On September 18, 2020, while Mr. Reel was on administrative leave pending the
investigation of Chief Johnson’s allegations against him, Commander Reel received a notice of
intended disciplinary action-written reprimand and a 20-day suspension on Officer Thomson’s
complaints that had earlier been closed. This was the earlier investigation that had been reopened
by Defendant Johnson who had gone behind HR Director’s back and poisoned the investigation
by adding new charges and witnesses, that Commander Reel had never had an opportunity to
defend himself against. Although Plaintiff Reel was on administrative paid leave pending another
investigation, a twenty day suspension for supervising a problem employee over a 17 day period
was excessive and based on false allegations. Defendant Johnson tampering with the investigation
and violated Commander Reel’s due process rights as he was not able to rebut the accusers that
Defendant Johnson had illegally added to the already closed investigation. In addition, Plaintiff

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never received the actual written reprimand that was referred to in the disciplinary suspension.

57. On September 24, 2020, Defendant City of El Centro began an investigation through
an outside investigator for what Plaintiff Reel believed was for his two complaints regarding
continual retaliation and officer safety violations. Instead, the investigation focused on what
Defendant Chief Johnson had alleged against Commander Reel regarding dishonesty,
insubordination and making false complaints against Chief Johnson. As Chief Johnson had done
with the previous Thompson investigation, he manipulated and coerced his command staff to
make false allegations and even went to lunch with the investigator. At no time was Commander
Reel’s complaints addressed during this investigation as it was one sided and none of Commander
Reel’s witnesses were interviewed. Plaintiff is informed and believes that the City of El Centro
further violated his due process rights by not providing an independent investigation with a
separate investigator regarding the continuous retaliation and the reporting of officer safety
protocols.

58. On October 1, 2020, Mr. Reel contacted the Employee’s Assistance Program for a
face to face counseling referral for stress and anxiety. He finally got an appointment with a
counselor on October 9 and was diagnosed with generalized anxiety disorder.

59. On November 24, 2020, HR Director reviewed Plaintiff Reel’s rebuttal to the
Suspension and reduced the original 20-day suspension to a 3-day, based on the lack of evidence
and the tainted investigation.

60. This would be short lived, however, because on February 1, 2021, the City
Manager, Defendant Piedra ( who had a intimate personal relationship with Defendant Johnson)
reversed the HR Director’s decision and reinstated the twenty day suspension resulting in a
monetary loss of approximately $10,000.00 to Commander Reel.

61. Shortly thereafter, on February 11, 2021, Commander Reel received another letter
entitled “Notice of intended disciplinary action-termination from employment,” where the basis
for this personnel action was that Reel had violated the ECPD’s Policies and Procedures and the
City’s Personnel Rules and Regulations for the following unsubstantiated reasons:

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1 |e dishonesty regarding his medical restrictions and other non-sensical reasons regarding a
2 vehicle that had been on a removal from service list,

3 |e insubordination for informing the Chief during the transport of Officer C that he did not
4 know about the parking situation; and

5 |e for bringing false complaints about retaliation and regarding officer safety protocols not
6 being followed for Covid-19 because that made the Department look bad.
7 After receiving this information, Plaintiff Reel contacted the Department of Fair

8 Employment and Housing to add his proposed termination to his investigation and was told to file

9 |janother complaint which he did. Attached as Exhibit 2 is his formal complaint and right to sue
10 |/from the DFEH.
11 62. While Commander Reel was appealing this notice through the Skelly process, HR
12 ||Director was named as the Skelly Officer, a role that she had never performed. While the Skelly
13 |lprocess was pending, both the HR Director and the City Attorney disagreed with the decision to
14 |Iterminate Commander Reel because the reasons did not substantiate a termination of Commander
15 |/Reel’s twenty-five year employment career. HR Director informed the City Attorney, City
16 Manager Piedra and the City Council that it was the Chief of Police that should be fired for lying
17 |jand that Commander Reel should retain his position.
18 63. It was the HR Director’s position that it was obvious that Defendant Johnson was
19 jladding anything and everything that he could think of to discredit Commander Reel, even calling
20 ||his performance out for typographical errors which certainly would never be a basis for a
21 ||termination. According to HR Director, if Commander Reel had indicated that his therapist
22 ||wanted him to not be contacted after hours due to his anxiety and depression, all they had to do
23 |lwas request a note instead of accusing him of lying. In addition, HR Director told City Manager
24 ||Piedra and the City Attorney that his allegations against Commander Reel for dishonesty were
25 ridiculous and that there was not one instance regarding any of the allegations that Commander
26 ||Reel that would lead to a termination. Despite HR’s reports, Defendant City of El Centro ignored
27 |Ithe recommendations of their own HR Director and the City Attorney and terminated Commander

28 ||Reel effective April 15, 2021.

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64. To demonstrate the retaliatory animus of Defendant Johnson, he issued another
letter of intent to terminate on March 24, 2021, which regurgitated the reasons of dishonesty over
a stored vehicle; the facts of which were falsely alleged. During the Skelly hearing regarding this
issue, HR Director informed Plaintiff Reel’s representative that she was going to immediately
dismiss this claim and that she was going to resign due to Chief Johnson’s illegal actions toward
Commander Reel and the hostility she had also experienced first hand. HR Director resigned after
complaining to City Manager Piedra regarding Chief Johnson’s conduct and discriminatory

behavior. After the Skelly dismissal, Plaintiff again contacted DFEH and opened another claim

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with his recent date of harm being June 9, 2021. Plaintiff has requested his right to sue. The

DFEH claim is attached as Exhibit 3.

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65. Plaintiff Reel is informed and believes and thereon alleges that the Defendants, and

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each of them, conspired to and did deprive him of his right to Due Process. The first being that

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Defendant Johnson improperly contacted the Investigator regarding Officer Thompson's

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investigation behind the HR Director's back, interviewing additional witnesses to elicit false and

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damaging information without giving Commander Reel the opportunity to be heard regarding

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these new allegations. When the suspension was initiated, it indicated that Plaintiff was to be

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issued a Notice of Reprimand but he was never given a copy of the Reprimand to dispute the

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allegations in further violation of his Due Process Rights. Thereafter, Plaintiff was given a

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defective notice related to his administrative leave as he was deprived of the reasons he was being

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placed on leave in violation of his due process rights.

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66. Plaintiffs rights were further violated by Defendants attempts to discipline him

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twice for the same claimed violation regarding dishonesty about a stored vehicle which had no

basis in fact. Plaintiff was further denied a fair investigation based on a series of conflicts of

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interest. Plaintiff did not receive an impartial investigation regarding his claims of retaliation and

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officer safety violations with regard to the lack of Covid-19 precautions. He was further denied

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due process by failing to provide an independent investigator to investigate his claims as opposed

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to the same investigator who was being directed by Chief Johnson in a blatant attempt to trump up

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baseless charges to terminate Plaintiff. Plaintiff's Skelly process was further lacking in due

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process as the HR Director, who had never been involved in the process, was under orders to
terminate Plaintiff despite her objections to the City Manager, City Attorney and City Council that
the Chief was lying and that it was the Chief who should have been fired. Therefore, the Skelly
process was tainted and the Chief of Police, Defendant Johnson and the City Manager, Marcela
Piedra, were integral participants in the discharge of the Plaintiff and the violation of his due
process to a fair and impartial hearing.

67. Plaintiff is further informed and believes that the actions of Defendants Johnson and
Piedra as described herein were malicious, fraudulent, oppressive, done with a willful and
conscious design to injure Plaintiff and with a blatant disregard for Plaintiff's rights. Defendants,
and each of them and/or their agents/employees, supervised, authorized, condoned and ratified the
unlawful conduct of Defendant Johnson.

FIRST CAUSE OF ACTION

(Failure to Perform Mandatory Duty against Defendant City of El Centro pursuant to Gov.
Code §815.6 (a))

68. Plaintiff hereby incorporates by reference paragraphs 1 through 67, inclusive, as if
set forth herein in full.

69. Pursuant to Cal. Gov. Code § 815.6, a public entity is directly liable for an injury
approximately caused by its failure to discharge a mandatory duty imposed by an enactment that is
designed to protect against the risk of a particular kind of injury unless the public entity
established that it exercised reasonable diligence to discharge the duty. As a public entity,
Defendant City of El Centro had a mandatory duty pursuant to California Government Code
§1031(d) to perform a mandatory background check prior to the hiring of Defendant Brian
Johnson. California Government Code §1031(d) is a mandatory legal requirement which required
the City of El Centro to ensure that peace officers, including Defendant Johnson, met certain
minimum standards at the time he was hired, including being of good moral character and the
absence of past behavior indicative of unsuitability to perform the duties of a peace officer as
determined by a thorough background investigation. The mandatory background investigation

included the past ten years of a Defendant Johnson’s employment, including his relationship with

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1 his colleagues and subordinate employees.

2 70. The California Code of Regulations Tit. 11 §1953 further provides that while the

3 lluse of the manual provided by the California Commission on Peace Officers Standard and

4 ||Training (POST) is discretionary, the POST Background Investigation Dimensions of Integrity,

5 Impulse Control/Attention to Safety, Substance Abuse and Other Risk-Taking Behavior, Stress
Tolerance, Confronting and Overcoming Problems, Obstacles, and Adversity, Conscientiousness,

Interpersonal Skills, Decision-Making and Judgment, Learning Ability and Communication skills

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shall be considered in the conduct of every peace officer background investigation.

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71. Prior to Defendant Brian Johnson’s hiring by the City of El Centro, the El Centro
10 |/Police Department had adopted the mandatory requirements of the California Commission on

11 ||Peace Officers Standards and Training in their hiring manual including Integrity defined as the
12 llintentional omission of facts and Credibility as a witness defined as any history of actions

13 lresulting in civil lawsuits against the applicant or his employer.

14 72. In approximately April of 2018, at the time Defendant Brian Johnson was hired by
15 |lthe City of El Centro, Defendant Johnson had been forced to resign as the Chief of Police of the
16 Upland Police Department due to a vote of no confidence by the Upland Police Officer’s

17 ||Association. As such, at the time of Defendant Johnson’s hire at the City of El Centro, he was no
18 longer a sworn peace officer. Instead, Defendant Johnson had been stripped of his title as the

19 Chief of Police for the City of Upland and was no longer a peace officer. During the application
20 |land hiring process for the City of El Centro, Defendant Brian Johnson was a civilian, a former

21 |lpeace officer, and “an applicant “ with whom the Defendant City of El Centro had a mandatory
22 \lobligation to perform a background investigation as required by Cal. Gov. Code §1031(d).

23 73. By failing to conduct any background investigation prior to the hiring of Defendant
24 Brian Johnson, Defendant City of El Centro violated the mandatory requirements of Cal. Gov.

25 ||\Code §1031(d).

26 74. Plaintiff is informed and believes that had Defendant City of El Centro not breached
27 ||their mandatory duty to conduct the mandatory background investigation, the City would have

28 Iknown that his background violated POST background requirements because he had a history of

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1 |Jactions that had resulted in civil lawsuits against him as the Chief of Police for Upland Police due
2 |Ito his retaliatory terminations of 29 year veteran Captain Anthony Yoakum and 23 year veteran
3 Sgt. Marcus Simpson, after they had reported Chief Johnson’s misconduct. These management
4 officers had reported Defendant Johnson for violating officer safety protocols and exposing the
5 Upland Police Department to liability for his illegal actions for false arrests at a marijuana
6 |jdispensary. A POST background would have revealed a pattern and practice of retaliatory conduct
7 \junbecoming of the Chief of Police.

8 75. Plaintiff is further informed and believed that a POST background search would

9 Ihave also revealed that Chief Johnson had a pattern and practice of retaliating against officers who
10 ||reported his illegal conduct by falsely accusing them of misconduct, insubordination and
11 jlimproperly disparaging the Chief of Police Brian Johnson. The background information would
12 ||have revealed that Defendant Johnson’s conduct included placing officers who reported his
13 |lconduct on administrative leave; he would make up false accusations for the officers to be
14 |linvestigated and he would thereafter make recommendations to terminate them.
15 76. Plaintiff is further informed and believes that in December of 2019, Defendant City
16 |lof El Centro was ordered by the California Commission on Police Officers and Training to
17 complete a POST background because they were not able to locate a background file indicating
18 |Ithe City of El Centro’ failure in their mandatory duty and demonstrating that the City had in fact
19 |breached their duty as they were put on notice of their breach in 2019 that a background
20 |\investigation had never been performed on Defendant Brian Johnson. At the time this directive
21 ||was issued by POST, the legislature had amended Penal Code §832.12 in January of 2019 which
22 ||required Defendant City of El Centro to obtain Defendant Brian Johnson’s personnel file and/or
23 |Iseparate file involving investigations of his misconduct. Penal Code §832.12 was also a
24 |imandatory duty required by Defendant City of El Centro.
25 77. Despite this directive, Defendant City of El Centro violated POST’s order and
26 |Icontinued to violate Government Code §1031(d) and Penal Code §832.12 by failing to obtain the
27 |background personnel files of investigations of misconduct that were on file with Defendant

28 |Johnson’s previous employer, City of Upland.

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78. Plaintiff is informed and believes and based thereupon alleges that Defendant City
of El Centro’s failure to perform their mandatory duties pursuant to Government Code §1031(d)
and Penal Code §832.12, was a substantial factor in causing Plaintiff to be subjected to Defendant
Johnson’s retaliatory and adverse employment actions because his conduct against the officers at
the Upland Police Department was substantially similar to the conduct that he became subjected
to causing him substantial harm to his career.

79. Asaresult of the acts and omissions alleged herein, Plaintiff has sustained and will
continue to sustain substantial losses in earnings, promotions, bonuses, deferred compensation
and other employment and career benefits, all to his damage in an amount according to proof. In
addition, Plaintiff has suffered and will continue to suffer damage to his career and reputation, in
an amount to be determined according to proof.

80. As a further result of the acts and omissions alleged herein, Plaintiff has suffered
and continues to suffer humiliation, fear, embarrassment, emotional anguish and extreme mental
stress, requiring him to seek the services of medical professionals for appropriate treatment to his
damage, in an amount to be determined according to proof.

WHEREFORE, Plaintiff requests relief as hereinafter provided.
SECOND CAUSE OF ACTION

(Negligent Hiring, Supervision & Training against Defendant Piedra and City of El Centro
pursuant to Gov. Code §815.2 (a))

81. Plaintiff hereby incorporates by reference paragraphs 1 through 80, inclusive, as if
set forth herein in full.

82. California state law permits municipalities to enact regulations creating a “City
Manager form of government.” Defendant City of El Centro has enacted such regulations as part
of their city charter. Pursuant to the City of El Centro’s Municipal Code Sections 2-81 and 2-82,
City Manager, Marcela Piedra was the “administrative head of the government of the city, The
City of El Centro has delegated to the City Manager Piedra the authority to control, order, and
give directions to all heads of departments and to subordinate officers and employees of the City.

More specifically, it is the City Manager’s duty to appoint, discipline, remove, promote and

27
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1 ||\demote any and all officers and employee’s of the city except the city clerk and the city attorney.
2 |\In addition, City Manager Piedra had the duty and power to exercise control over all departments
3 jlof government of the city and over all appointive officers and employees thereof.

4 83. Atall times relevant hereto, City Manager Marcela Piedra was responsible for the

5 |hiring, supervision and control of their employees, agents, and other personnel, including, but not
6 limited to Defendant Brian Johnson. As such, Defendant Piedra owed a duty of due care to her

7 |\|current employees, including the Plaintiff, to properly hire, supervise and train the employees and
8 |jother personnel to comply with and to place adequate procedures to prevent the actions of

9 Defendant Brian Johnson from occurring.

10 84. Plaintiff is informed and believes that Defendant City Manager Piedra was aware
11 that prior to his employment with City of El Centro, Defendant Brian Johnson was employed as
12 |Ithe Chief of Police for both Los Angeles and the City of Upland, located in Southern California.
13 ||California Government Code Section 1031 required Defendant City of El Centro, through City

14 Manager Piedra, to conduct a full background check on Defendant Brian Johnson prior to his hire,
15 |lincluding but not limited to, the past ten years of his employment including his relationship with
16 ||his colleagues and subordinate employees. The background check also required a search of

17 Defendant Johnson’s general personnel file or any other separate file designated by any previous
18 |\law enforcement agency pursuant to California Penal Code §832.12 (b).

19 85. Defendant City Manager, Marcela Piedra, failed to perform a mandatory POST

20 background check on Defendant Brian Johnson. The post-background check is a mandatory

21 ||statutory requirement pursuant to Cal. Code Regs. Tit. 11 §1953. Defendant City Manager

22 |\Marcela Piedra cannot claim immunity from her failure to perform this mandatory duty.

23 86. Plaintiff is also informed and believes that Defendant City Manager Marcela Piedra,
24 |lalso failed to administer a polygraph examination to Defendant Johnson. Had these background
25 llmeasures been taken, the information would have revealed that Defendant Brian Johnson had

26 |Ibeen forced to resign as the Chief of Police for Upland Police Department in October of 2017 due
27 |Ito a vote of no confidence by the Upland Police Officer’s Association. The impetus for Defendant

28 |\Johnson’s forced departure from Upland was his retaliatory terminations of 29 year veteran

28
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1 Captain Anthony Yoakum and 23 year veteran Sgt. Marcus Simpson, after they had reported

2 ||Chief Johnson’s misconduct. These management officers had reported Defendant Johnson for
3 violating officer safety protocols and exposing the Upland Police Department to liability for his
illegal actions for false arrests at a marijuana dispensary. Plaintiff is informed and believes that
Defendant Brian Johnson was formally reprimanded for his officer safety violations and other

illegalities which was placed in his personnel file. A POST background would have revealed a

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pattern and practice of retaliatory conduct unbecoming of the Chief of Police.
87. A POST background search would have also revealed that Chief Johnson had a

9 ||pattern and practice of retaliating against officers who reported his illegal conduct by falsely
10 jjaccusing them of misconduct, insubordination and improperly disparaging the Chief of Police
11 Brian Johnson. He would place officers who reported his conduct on administrative leave and
12 make up false accusations to be investigated and would thereafter terminate them.
13 88. Plaintiff is further informed and believes that the California Commission on Police
14 Officers and Training notified Defendant Piedra that the City of El Centro had failed to perform a
15 |}background investigation on Defendant Brian Johnson in violation of the law. Plaintiff is
16 |linformed and believes that the City of El Centro was ordered to complete a POST background on
17 ||Chief Johnson by December 20, 2019 or they would order him to resign. Plaintiff is further
18 |linformed and believes that Defendant Piedra deliberately failed to obtain the appropriate
19 background information, which would have demonstrated Chief Johnson’s pattern and practice of
20 |retaliation to Officers in his chain of command that engage in protected activity by reporting his
21 jillegal conduct. Both officers brought lawsuits alleging numerous violations of their civil rights
22 |lagainst the City of Upland and Defendant Johnson both in his individual and official capacity.
23 ||Plaintiff is informed and believes that a proper POST background would have revealed a pattern
24 |jand practice of taking adverse employment actions against officers such as Plaintiff Reel who had
25 |lengaged in protected activity.
26 89. Plaintiff is also informed and believes and based thereupon alleges that if
27 ||\Defendant Piedra had actual notice of Defendant Johnson’s previous conduct, she deliberately

28 |I\failed to protect Commander Reel from a foreseeable risk of harm given that Officer Reel

29
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continued to inform Defendant City of El Centro that he had been targeted by Chief Johnson for
retaliatory behavior and the same fact pattern that had happened to the officers at the Upland
Police Department was happening to him. Plaintiff believes that since Defendant City Manager
Piedra was intimately involved with Defendant Johnson, she in all likelihood knew and
deliberately failed to take any action. Alternatively, Plaintiff alleges if she did not have actual
notice of Defendant Johnson’s previous retaliatory conduct, Defendant Piedra should have known
as she was responsible for performing the mandatory background check on the Chief of Police to
avoid him presenting an undue risk of harm to Commander Reel.

90. Plaintiff is further informed and believes that he brought several complaints to the
attention of the HR Director who informed Defendant City Manager Piedra that Defendant Chief
Johnson was lying and manipulating the investigations and that there was not any basis to
terminate Plaintiff Reel. Defendant Piedra deliberately failed to properly train and supervise
Defendant Chief Johnson to prevent him from retaliating against Commander Reel when she was
on actual notice of his behavior.

91. Defendant Piedra’s negligent failure to properly train and supervise Defendant
Johnson made her accountable to Plaintiff for all of the wrongful acts taken against him as she had
actual notice of his retaliatory actions taken against the Plaintiff and failed to prevent them.

O2. Plaintiff is informed and believes and herein alleges that Defendant Marcela Piedra
was negligent in the hiring, training, retention, discipline and supervision of Chief Johnson who
was under her direct supervision and that she was aware that Defendant Johnson was retaliating
against Commander Reel which proximately caused the injuries and damages alleged in the
complaint herein.

93.  Atall times relevant herein, Defendant City Manager Marcela Piedra was employed
by the City of El Centro and was acting within the course and scope of her employment at the
time she negligently failed to perform a background investigation in the hiring, training, retention,
discipline and supervision of Defendant Johnson. Pursuant to California Government Code
Section 815.2 subdivision (a), Defendant City of El Centro is vicariously liable because the acts

that Defendant Marcela Piedra committed were in the course and scope of her employment.

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94. Asaresult of the acts and omissions alleged herein, Plaintiff has sustained and will
continue to sustain substantial losses in earnings, promotions, bonuses, deferred compensation
and other employment and career benefits, all to his damage in an amount according to proof. In
addition, Plaintiff has suffered and will continue to suffer damage to his career and reputation, in
an amount to be determined according to proof.

95. Asa further result of the acts and omissions alleged herein, Plaintiff has suffered
and continues to suffer humiliation, fear, embarrassment, emotional anguish and extreme mental
stress, requiring him to seek the services of medical professionals for appropriate treatment to his
damage, in an amount to be determined according to proof.

WHEREFORE, Plaintiff requests relief as hereinafter provided.
THIRD CAUSE OF ACTION

(Violation of Government Code Section 12940(h)-
Retaliation against City of El Centro)
96. Plaintiff incorporates by reference each and every allegation contained in
paragraphs 1| through 95 as though fully set forth herein.

97. At all times herein mentioned, Government Code Section 12940(h) was in full force
and effect and binding upon Defendants, and each of them. Government Code §12940, subdivision
(h), for protesting and/or reporting illegal discrimination and/or harassment occurring in the
workplace.

98. As previously alleged in the Complaint, Commander Reel made several reports to
Defendant Johnson and Director of Human Resources that he reasonably believed that Chief
Johnson was subjecting women to sexist and degrading behavior in the workplace and as a direct
consequence of his reports, he was subjected to a hostile environment and adverse employment
actions. From the time of Commander Reel’s first report of sexual discrimination and retaliation
towards him on August 16, 2019, he was subjected to retaliatory adverse employment actions,

including but not limited to the following actions:

° threatening that the Chief would never promote him;
° attempting to convince Plaintiff to take an at-will position;
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violating departmental policy by failing to place Commander Reel in the
Acting Chief position in his absence on two occasions resulting in the loss
of pay;

deliberately changing the policy to deprive Commander Reel from ever
being given the Acting Chief position;

interfering with the investigation process regarding Officer Thompson’s
complaints by requesting the investigation to interview additional witnesses
and obtaining derogatory information behind HR Director’s back to
improperly influence the investigation process and violate Plaintiff's due
process rights;

issuing a twenty day suspension after violating Commander Reel’s due
process rights resulting in a loss of approximately $10,000.00 in pay
refusing to list Plaintiff's achievements in his performance evaluation;
interrogating Plaintiff's direct reports in his absence to attempt to falsely
accuse Commander Reel of not properly assigning detail to the Christmas
parade;

forcing Plaintiff on medical leave for creating a hostile and stressful
environment resulting in a diagnosis of anxiety and depression;

packing Plaintiff’s office belongings and moving his office during his
medical leave;

stripping Plaintiff of all his duties as the operational commander effectively
demoting him to administrative commander usually reserved for a junior
commander;

refusing to meet with Plaintiff and excluding him from all meetings
regarding the organizational structure of the Police Department;

after sustained policy violations by City of El Centro, refusing to
compensate Plaintiff for two years for his additional pay he was denied by

the designation of Acting Commander;

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° purposefully undermining Plaintiff's employment by informing other
command officials and management behind his back that it was his intent to
get rid of him without informing Plaintiff;

° informing staff members to gather documents to disparage Plaintiff's
performance;

° interfering with the investigation of Plaintiff and lying to the City Manager,

City Attorney and City Council regarding his actions and Plaintiff's alleged
performance deficiencies;

° falsely accusing Plaintiff of lying and insubordination;

° publicly humiliating Plaintiff by cussing at him and insulting him while
threatening him that he was going to sideline him;

° placing him on administrative leave with inadequate notice and lying about
the reasons in violation of his due process;

° terminating his employment after 25 years of exceptional service without
adequate justification and based upon willful misrepresentations.

99. Asa direct and proximate result of Defendants’ willful and intentional
discrimination against the Plaintiff, he has sustained losses in earnings, and other job benefits and
have suffered and continues to suffer, humiliation, embarrassment, mental pain and anguish, and
distress, all damages in the amount not as yet ascertained.

100. Asa further direct and proximate result of Defendants’ conduct as described above,
Plaintiff has been required to obtain legal counsel to protect his rights, and he has thereby incurred
attorney’s fees in an amount to be proven at the time of trial. Pursuant to Government Code
Section 12900 et. seq., and specifically Section 12965(b), Plaintiff is entitled to an award of
reasonable attorney’s fees, costs, and expenses against Defendants, and each of them.

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FOURTH CAUSE OF ACTION

(Violation of Government Code§ 12945.2(1) - Retaliation for taking leave under the
California Family Rights Act against Defendant City of El Centro)

101. Plaintiff incorporates by reference each and every allegation contained in
paragraphs 1 through 101 as though fully set forth herein.

102. Atall times herein mentioned, Government Code § 12945.2(1), was in full force and
effect and was binding upon Defendants, and each of them. Said section prevents employers from
retaliating against employees for exercising their right to take leave under this section. Plaintiff
reasonably requested from Defendants, and each of them, leave pursuant to California Government
Code §12945.2(a).

103. After Plaintiff exercised his right to take CFRA leave, Defendant subjected him to
retaliatory actions, including but not limited to the following:

° packing Plaintiff's office belongings and moving his office during his
medical leave;

° stripping Plaintiff of all his duties as the operational commander effectively
demoting him to administrative commander usually reserved for a junior
commander;

° refusing to meet with Plaintiff and excluding him from all meetings
regarding the organizational structure of the Police Department;

° after sustained policy violations by City of El Centro, refusing to
compensate Plaintiff for two years for his additional pay he was denied by
the designation of Acting Commander;

° purposefully undermining Plaintiff's employment by informing other
command officials and management behind his back that it was his intent to
get rid of him without informing Plaintiff;

° informing staff members to gather documents to disparage Plaintiff's
performance;

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FIRST AMENDED COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF: DEMAND FOR JURY TRIAL

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1 ° interfering with the investigation of Plaintiff and lying to the City Manager,
Z City Attorney and City Council regarding his actions and Plaintiffs alleged
3 performance deficiencies;
4 ° falsely accusing Plaintiff of lying and insubordination;
5 ° publicly humiliating Plaintiff by cussing at him and insulting him while
6 threatening him that he was going to sideline him;
7 ° placing him on administrative leave with inadequate notice and lying about
8 the reasons in violation of his due process;
o ° terminating his employment after 25 years of exceptional service without
10 adequate justification and based upon willful misrepresentations.
11 104. Asaresult of Defendant’s discriminatory conduct, Plaintiff lost income, benefits,

12 |lexperience, and other related advantages of his employment entitling him to special damages

13 ||thereof in an amount to be determined according to proof at trial.

14 105. Asa further result of the acts and omissions alleged herein, Plaintiff has suffered
15 |land continues to suffer humiliation, fear, embarrassment, emotional anguish and extreme mental
16 |istress, requiring him to seek the services of medical professionals for appropriate treatment to his
17 |ldamage, in an amount to be determined according to proof.

18 106. Plaintiff was required to obtain legal counsel to protect his rights, and thereby will
19 |lincur attorneys fees in an amount to be ascertained after trial. Pursuant to Government Code §
20 |12965(b) Plaintiff requests an award of reasonable attorneys fees incurred against Defendants, and
21 |leach of them.

2d WHEREFORE, Plaintiff requests relief as hereinafter provided.

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FIFTH CAUSE OF ACTION

(Employment Discrimination in Violation of California Government Code §

12940(a)—Disability Discrimination against Defendant City of E] Centro)

107. Plaintiff incorporates by reference each and every allegation contained in
paragraphs 1 through 106, as though fully set forth herein.

108. At all relevant times, Plaintiffs employment was governed by California
Government Code § 12940(a) which imposes on employers a duty to keep the workplace free of
employment discrimination on account of an actual or perceived disability. Plaintiff was a qualified
individual with a disability of anxiety. As a result of the adverse employment actions of Chief
Johnson, Commander Reel informed HR Director that he could not concentrate, he could not
focus, that his heart was pounding and he was experiencing difficulties with his job duties.

109. Defendant City of El Centro was aware that Plaintiffs condition of anxiety was
affecting the quality of his work and was directly related to his disability. Despite being on notice
of Plaintiff's disability impacting his work performance, City of El Centro used certain mistakes
that Plaintiff made in news releases and typographical letters as a basis for his termination which
constitutes direct evidence of disability discrimination. In addition, Plaintiff was told after he came
back from his medical leave by his personal therapist that he should not engage in work activities
such as checking his phone or e-mails after hours as this would affect his therapeutic progress with
regard to his therapy. Instead of requesting a note from Plaintiff's personal physician regarding this
accommodation, Defendant instead accused Plaintiff of lying because they mixed up their duties to
accommodate under the California Government Code and the work restrictions issued by a
worker’s compensation doctor. The Human Resources Director indicated that all the City would
have had to do to clear this issue up is to request a note from Plaintiff's therapist instead of
accusing him of lying as part of the reason to terminate him.

110. Asaresult of Defendant’s discriminatory conduct, Plaintiff lost income, benefits,
experience, and other related advantages of his employment entitling her to special damages
thereof in an amount to be determined according to proof at trial.

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111. Asa further result of the acts and omissions alleged herein, Plaintiff has suffered
and continues to suffer humiliation, fear, embarrassment, emotional anguish and extreme mental
stress, requiring him to seek the services of medical professionals for appropriate treatment to his
damage, in an amount to be determined according to proof.

112. Plaintiff was required to obtain legal counsel to protect his rights, and thereby will
incur attorneys fees in an amount to be ascertained after trial. Pursuant to Government Code §
12965(b) Plaintiff requests an award of reasonable attorneys fees incurred against Defendants, and
each of them.

WHEREFORE, Plaintiff requests relief as hereinafter provided.
SIXTH CAUSE OF ACTION

(Failure to Remedy Discrimination and Harassment in Violation of Gov. Code §12940(k)
against Defendant City of El Centro)
113. Plaintiff incorporates herein by reference each and every allegation contained in
paragraphs 1 through 112, inclusive, of this complaint as if fully set forth herein.

114. As set forth above, at all times relevant, the California Government Code section
12900, et seq., was in force and effect. The Fair Employment and Housing Act, section 12940(k)
provides that it is an unlawful employment practice for “An employer...to fail to take all reasonable
steps necessary to prevent discrimination and harassment from occurring.”

115. As previously alleged in the Complaint, Commander Reel made several reports to
Defendant Johnson and Director of Human Resources that he reasonably believed that Chief
Johnson was subjecting women to sexist and degrading behavior in the workplace and as a direct
consequence of his reports, he was subjected to a hostile environment and adverse employment
actions. From the time of Commander Reel’s first report of sexual discrimination and retaliation
towards him on August 16, 2019, he was subjected to additional retaliatory adverse employment
actions. Despite Commander Reel’s multiple reports, he continued to be discriminated and
retaliated against by Defendant Johnson through the time of his termination on April 15, 2021 over
a period of two years. Despite City of El Centro’s knowledge of Plaintiffs complaints, they failed

to remedy his hostile environment caused by Chief Johnson.

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1 116. By performing the acts and/or omissions as described above, among others,

2 ||\Defendants, and each of them, violated the Fair Employment and Housing Act, Section 12940(k),

3 |/by failing to take all steps to prevent discrimination against Plaintiff, and others, from occurring on

the basis of sex, retaliation, disability and request for medical leave pursuant to the California

Family Rights Act.

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6 117. Asa direct and proximate result of Defendant’s failure to remedy the discrimination
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8 ||have suffered and continues to suffer, humiliation, embarrassment, mental pain and anguish, and

9

distress, all to his damage in the amount not as yet ascertained.

and retaliation against the Plaintiff, he has sustained losses in earnings, and other job benefits and

10 118. Asa further direct and proximate result of Defendants’ conduct as described above,

11 ||Plaintiff has been required to obtain legal counsel to protect his rights, and he has thereby incurred

12 |lattorney’s fees in an amount to be proven at the time of trial. Pursuant to Government Code
13 Section 12900 et. seq., and specifically Section 12965(b), Plaintiff is entitled to an award of

14 |lreasonable attorney’s fees, costs, and expenses against Defendants, and each of them.

13 WHEREFORE, Plaintiff prays for relief as set forth herein.

16 SEVENTH CAUSE OF ACTION

I (Violation of Statutory Duty pursuant to California Labor Code §6310 against All
18 Defendants)

Ig 119. Plaintiffs incorporate by reference each and every allegation contained in

20 |Iparagraphs 1 through 118 as though fully set forth herein.

Zl 120. Defendant City of El Centro is an“employer” and Defendants Johnson and Piedra

22 |lare “ persons” pursuant to California Labor Code Section 6310(a) who shall not discharge, or in

23 \lany manner discriminate against an employee for complaining in good faith about working

24 |iconditions or practices which he reasonably believes to be unsafe, whether or not there exists at the

25 |time of the complaint an occupational heath and safety standard or order which is being violated.

26 ||This section specifically prohibited Defendants City of El Centro, Johnson and Piedra from

27 |\discriminating and discharging Plaintiff Aaron Reel for his complaints that the Command Team at

28 ||El Centro Police Department had created unsafe workplace conditions by not taking adequate

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safety requirements for their high risk officers and follow the safety protocols recommended by the
CDC and other state and local regulations put in place to protect the public during the Covid-19
pandemic. Plaintiff is informed and believes that Defendants Johnson and Defendant Piedra were
persons acting on behalf of Defendant City of El Centro at the time the discriminatory actions
occurred.

121. As aforementioned, Plaintiff filed a complaint internally with the HR Director of the
El] Centro Police Department as well as the Labor Commissioner wherein he expressed his
reasonable belief that the failure of the command staff to follow the officer safety protocols
recommended by the CDC and other governmental agencies to not expose their high risk
employees to unnecessary risks and to secure N95 masks for their officers had contributed to the
death of an officer.

122. Defendants discriminated against Plaintiff Aaron Reel and discharged him, in part,
on account of his health and safety complaints regarding the lack of officer safety protocols.

123. Asa proximate result of Defendants’ conduct, Plaintiff has suffered, and will
continue to suffer, special damages (including, but not limited to past and future lost earnings and
employment benefits) in an amount to be proven at trial.

124. California Labor Code Section 6310(b) also provides that any employee who
prevails on a claim under section 6310 is also entitled to reinstatement in addition to lost wages.

125. In the event that Plaintiff is the prevailing party in this action, he will also be
entitled to recover attorneys fees under California Code of Civil Procedure Section 1021.5 in that
this action will have resulted in the enforcement of an important right affecting the public interest.

WHEREFORE, Plaintiffs pray for judgment against Defendants, and each of them, as more
fully set forth below.

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EIGHTH CAUSE OF ACTION

(Violation of California Labor Code §1102.5 Against Defendant City of El Centro)

126. Plaintiffs incorporate by reference each and every allegation contained in
paragraphs 1 through 125, as fully set forth herein.

127. California Labor Code §1102.5 provides, amongst other things, that an employer,
or any person acting on behalf of the employer, shall not retaliate against an employee for
disclosing information about illegal activity or because the employer believes that the employee
disclosed or may disclose information. The Code specifically states: An employer, or any person
acting on behalf of the employer, shall not retaliate against an employee for disclosing information,
or because the employer believes that the employee disclosed or may disclose information, to a
government or law enforcement agency, to a person with authority over the employee or another
employee who has the authority to investigate, discover, or correct the violation or non-
compliance...if the employee has reasonable cause to believe that the information discloses a
violation of state or federal statute, or a violation of or noncompliance with a local, state, or federal
rule or regulation.

128. Asset forth above, Plaintiff Aaron Reel disclosed his reasonable belief that
Defendant City of El Centro Police Department and Defendant Brian Johnson had violated
California state and local regulations pursuant to the guidelines of the CDC and other state and
federal Health and Safety regarding protecting their high risk officers from being infected by
Covid-19 by taking the necessary precautions in assignments and in proper facial N-95 masks. As
set forth in detail in the above-referenced facts, Plaintiff Reel reported his reasonable belief that
Defendant Johnson’s actions and the command staff in failing to follow CDC guideline and officer
safety protocols by protecting their high risk officers from coming into contact with potential
exposure to Covid-19 had resulted in an unnecessary death of an officer. Plaintiff reported this to
his own law enforcement agency, the City, by and through the HR Director and the Department of
Labor by opening a formal investigation.

129. Defendants retaliated against Plaintiff Reel and discharged him on account of his

complaints that Defendants had not followed appropriate officer safety protocols in violation of

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Labor Code 1102.5.

130. Asa proximate result of Defendants’ conduct, Plaintiff has suffered and will
continue to suffer special damages (including, but not limited to past and future lost earnings and
employment benefits), the exact amount to be proven at trial.

131. In the event that Plaintiff is the prevailing party in this action, he will also be
entitled to recover attorneys fees under California Labor Code Section 1102.5(j) which specifically
authorizes the court to award reasonable attorneys fees to a Plaintiff who brings a successful action
for violation of these provisions. In addition, Plaintiff would also be entitled to attorneys fees
pursuant to California Code of Civil Procedure Section 1021.5 in that this action will have resulted
in the enforcement of an important right affecting the public interest.

WHEREFORE, Plaintiffs pray for judgment against Defendants, and each of them, as more
fully set forth below.

NINTH CAUSE OF ACTION

(Violation of 42 U.S.C. § 1983 First Amendment Retaliation Against All Defendants)

132. Plaintiff incorporates herein by reference each and every allegation contained in
paragraphs 1 through 131, inclusive, of this complaint as though fully set forth herein.

133. California state law permits municipalities to enact regulations creating a “City
Manager form of government.” Defendant City of El Centro has enacted such regulations as part
of their city charter. Pursuant to the City of El Centro’s Municipal Code Sections 2-81 and 2-82,
City Manager, Marcela Piedra was the “administrative head of the government of the city. The City
of El Centro has delegated to the City Manager Piedra the authority to control, order, and give
directions to all heads of departments and to subordinate officers and employees of the City. More
specifically, it is the City Manager’s duty to appoint, discipline, remove, promote and demote any
and all officers and employee’s of the city except the city clerk and the city attorney. In addition,
City Manager Piedra had the duty and power to exercise control over all departments of
government of the city and over all appointive officers and employees thereof. Accordingly, City
Manager Marcela Piedra had final policymaking authority over police employment decisions,

including, the termination of Plaintiff.

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1 134. Plaintiff is a public employee of The City of El Centro, an entity of the County of
2 |Imperial and State of California, and he has a right guaranteed to engage in constitutionally
3 ||protected speech on matters of public concern pursuant to the First Amendment to the United
4 States Constitution, through 42 U.S.C. §1983. Plaintiff's rights to be free from retaliation for
5 |lexercising his right to report matters of sex discrimination, retaliation and health and safety
6 ||violations were also clearly established under the First Amendment, by judicial precedent at all

7 |\times, and at all times relevant to the events stated in this Complaint.

8 135. Plaintiff exercised his First Amendment right to report his public concerns,

9 including that Defendant Johnson was sexually discriminating against female employees and that
10 jhe had been illegally subjected to retaliation for his reports. In addition, Plaintiff engaged in his
11 |\first amendment right to speak out regarding his reasonable belief that the El Centro Police
12 |/Department Command Staff did not have the proper infection control procedures in place to
13 |lprotect their high risk officers from the transmission of the deadly Covid-19 virus. As such,
14 ||;Commander Reel engaged in constitutionally protected speech on matters of public concern.
15 136. Asadirect and proximate result of Plaintiff's reports, Defendant Chief of Police
16 ||Brian Johnson retaliated against Commander Reel for engaging in protected speech by subjecting
17 ||him to false accusations regarding his performance. Defendant City Manager was on actual notice
18 |Ithat Commander Reel had engaged in first amendment protected activity and that Defendant
19 |/Johnson’s accusations were false. The HR Director told Defendant City Manager, Defendant
20 ||/Piedra that Chief Johnson was lying and that she had reduced the suspension of Plaintiff to three
21 ||days . However, Defendant Piedra was also retaliating against Commander Reel and she reversed
22 |Ithe HR Director’s decision and reinstated the twenty day suspension resulting in a monetary loss of
23 |lapproximately $10,000.00 to Commander Reel.
24 137. In addition, both the HR Director and the City Attorney informed City Manager
25 ||Piedra that they disagreed with the Defendant Chief Johnson’s decision to terminate Commander
26 ||Reel because the reasons did not substantiate a termination of Commander Reel’s twenty-five year
27 employment career. HR Director also informed the City Attorney, City Manager Piedra and the

28 ||City Council that it was the Chief of Police that should be fired for lying and that Commander Reel

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should retain his position. HR Director also told City Manager Piedra that the allegations against
Commander Reel for dishonesty were ridiculous and that there was not one instance regarding any
of the allegations that Commander Reel that would lead to a termination. In fact, HR Director
resigned after complaining to City Manager Piedra regarding Chief Johnson’s conduct and
discriminatory behavior. Despite HR’s reports, Defendant City Manager Piedra ignored the
recommendations of HR Director and the City Attorney and terminated Commander Reel effective
April 15, 2021.

138. Plaintiff is informed and believes and based thereupon allege that both Defendant
Johnson and Defendant Piedra were involved in a personal relationship and acted in concert to
deprive Plaintiff of his constitutional rights and such actions were taken intentionally exposing
each of these Defendants to punitive damages. Defendant Piedra, as the final decision maker,
allowed Defendant Chief Johnson the discretion to choose the Commander he wished to be in
charge in the event of his absence against the policies of the police department. Defendant Piedra
approved the official policy change in the department manual causing Commander Reel to be
permanently blocked from exercising his right to act in the capacity of Acting Chief for the
remainder of his tenure. Plaintiff is informed and believes that this decision was done intentionally
to deprive Plaintiff of his rights and was in violation of the law. These actions demonstrate that
Defendant City Manager Piedra delegated Defendant Chief of Police Johnson to change policy in
order to further discriminate and retaliate against Plaintiff.

139. Any reasonable public official such as Defendant Johnson and Defendant Marcela
Piedra in their respective positions would have known that retaliating against a public employee for
engaging in reporting sex discrimination, retaliation, and health and safety violations regarding the
transmission of Covid-19 was illegal, unlawful, and in violation of constitutionally protected First
Amendment rights. As such, Defendants are not entitled to qualified immunity for their intentional
retaliatory acts taken against the Plaintiff in their official capacities as the Chief of Police and the
City Manager. In addition, Plaintiff has sued Defendants Johnson and Piedra in their individual
capacities for retaliating against him for exercising his First Amendment rights.

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140. Defendants Johnson and Piedra were integral participants in taking adverse actions
against Plaintiff, because of his first amendment speech by engaging in retaliatory actions which
included, but were not limited to: interfering with the investigations of Plaintiff, accusing
Plaintiff's of performance deficiencies; falsely accusing Plaintiff of lying and insubordination;
placing him on administrative leave with inadequate notice and lying about the reasons in violation
of his due process; and terminating his employment after 25 years of exceptional service without
adequate justification and based upon willful misrepresentations.

141. Plaintiff’s protected speech was a substantial and motivating factor for the adverse
employment actions taken against the Plaintiff. Defendants cannot demonstrate by clear and
convincing evidence that they would have taken the adverse action against the Plaintiff even absent
the protected speech.

142. Defendants Johnson and Piedra acted intentionally and exhibited an extreme
reckless disregard of, and callous indifference to Plaintiff's clearly established constitutionally
protected right to express matters of public concern pursuant to the First Amendment. Here,
Plaintiff has been stigmatized in his law enforcement career and his personal reputation by being
terminated for false reasons of dishonesty and insubordination.

143. Defendants’ actions as described above have injured Plaintiff by causing him loss of
income, pain and suffering, public humiliation and damaged his standing as a member of the law
enforcement community, entitling him to compensatory damages against the individual
Defendants.

144. Defendants’ conduct, as described herein, was done maliciously, with unlawful
purpose to cause such damage and loss and without right or justifiable cause, thereby warranting
punitive damages against Defendants Johnson and Piedra.

145. Plaintiff is further informed and believes that Defendant City of El Centro is liable
to Plaintiff under a Monell theory of liability based upon Defendant Marcela Piedra’s ratification
of her subordinate Defendant Brian Johnson’s retaliatory conduct and her authority as a final
decision-maker. Not only did Defendant Piedra condone and ratify Defendant Johnson’s retaliatory

conduct, she directly participated in it justifying liability against all Defendants.

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1 WHEREFORE, Plaintiff prays for relief as set forth herein
2 PRAYER FOR RELIEF
3 1. For compensatory damages including lost wages, lost employee benefits, bonuses,

4 |vacation benefits, the cost of Plaintiffs clothing that was destroyed, and other miscellaneous
5 |/special damages, according to proof;

6 2, Mental and emotional distress, and other general damages according to proof;

7 3. For an award of punitive damages against the individual Defendants where allowed
8 |jaccording to proof;

9 4. For an award of attorney’s fees and costs where allowed by each statutory cause of
10 |jaction;

11 5. For the injunctive and declaratory relief including, but not limited to, expunge any
12 |negative personnel documents relating to any adverse actions taken against the Plaintiff including

13 ||his termination;

14 6. For the court to take any and all necessary and reasonable steps to remove the

15 |istigma and negative perception of Plaintiff created by Defendants’ illegal conduct and false

16 |icomments made about him, including his honesty as a law enforcement officer;

17 7 For such other relief as the court may deem necessary and proper.

19 Respectfully submitted,
20 LAW OFFICES OF SUZY C. MOORE

Dated: November 28, 2022

Plaintif:

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